                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                Plaintiff,       )
                                                 )
                v.                               )      No. 08-00244-02-CR-W-NKL
                                                 )
DANIEL DOMINGUEZ,                                )
                                                 )
                                Defendant.       )


                               REPORT AND RECOMMENDATION
                                CONCERNING PLEA OF GUILTY

        The Defendant has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72(j)(26),

and 28 U.S.C. § 636, and has entered a plea of guilty to Counts 1 and 4 of the Indictment. I

determined that the guilty pleas are knowledgeable and voluntary and that the offense charged are

supported by an independent basis in fact containing each of the essential elements of such offenses. A

record was made of the proceedings and a transcript is available. I therefore recommend that the pleas of

guilty be accepted and that the Defendant be adjudged guilty and have sentence imposed accordingly.

        Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                         s/ JOHN MAUGHMER
                                                        JOHN MAUGHMER
                                                        United States Magistrate Judge
Dated: December 10, 2008




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